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                            LEGISLATIVE HISTORY CHECKLIST


 NJSA:      46:3-23 et al                           (Title 46-- conveyance of real
                                                    property-- eliminate sex biased
                                                    provisions)

 LAWS OF: 1987                                      CHAPTER:     357

 Bill No:   A2295

 Sponsor(s): Randal1

 Date Introduced:      March 13, 1986

 Committee:            Assembly: Judiciary

                       Senate:   Judiciary

 Amended during passage:             Yes            Amendments during passage denoted
                                                    by asterisks.

 Date of Passage:                    Assembly:      September 8, 1986

                                     Senate:        November 12, 1987

 Date of Approval:     January 5, 1988

 Following statements are attached if available:

 Sponsor statement:                                 Yes

 Committee statement:                Assembly       Yes

                                     Senate         Yes

Fiscal Note:                                        No

Veto Message:                                       No

 Message on Signing:                                No

Following were printed:

Reports:                                            Yes

Hearings:                                           No

 Report, mentioned in statements:

974.90      New Jersey. Commission on Sex Discrimination in the statlu~,6.
W872         Toward economic equity: recommendations for the elimination of sex
1985        discrimination in ••• property,:~aAtu~~s
                                                   • •• January, 1985. Trenton, 1985.
                 (see vol. 1-- pp 15-17,.n    % «l   ~1el:"+<v{. jvnMN/
                      (see vol II pp 619-656)                          I
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                                    IS!':('I):-:n UFFIC1;\1.. COI'Y HF.I'IHNT]
                                      ASSEl\IBLY, No_ 2295

                  STATE OF NEW JERSEY
                                         INTRODUCED MARCIl 13, 1986

                                           By Assemblywoman HANDALL



                        AN ACT cOllcerl'ing the eliminution of sex us u husis for conferring
                         certai I right8 am! supplcmenting chaptcr 3 of 'rille 4G of the
                          Revised Statutes, and revising and repealing parts of the statu-
                          tory law.

                   1   DE IT Jo;NAC'n:,. by the Senate and General Assembly of the State
                   2 of New Jersey:
                   1   1. Section 1 of P. L.1965, c. 67 (C. 46 :3-~3) is amended to read as
                   2 follows:
                   lJ  1. Any promise, covenant or restriction in a contract, mortgage,
                   4 lease, deed or convey,allce 01' in any other agreen~~lIt affecting real
                   5 property, JlCl'etofore or hereafter made                    01'   entered into, which
                   6 limits, restrui'l!J, prohibits or othenvise providf!B ugainst the sale,
                   7 grant, gift, transfer, assignment, conVe)'llIICe, owncl'Rhip, lease,
                   8 rental, usc or occupancy of r£'al property to or by allY pcrson
                   9 because of racc, crced, color, nutiollal ol';gin, [OJ'] alle(~strj', ·[ma1-i.
                  10 tal status]- ··marital status·· or sc:); is hl'J'p.IJy deelHrcd to be void
                  11 as ugainst public policy, wholly unenforceable, and shall not con-
                  12 stitute a defellsc in nn)' action, suit or proceeding. No such promise,
                  13 covenant 01' reslriction shall be listed as a valid provision affecting
                  14 such property in JJ11blic Jlotices concernillg such property. The in-
                  15 validil y ot allY such promisc, covenant or restrietiou in any such
                  16 instrument or ugreenH'nt shall not affect the validity of 1111y other
l
                  17 pr<Jviliioll therein, bllt no revortei' shull occur, no possessory estate
1
t
                  18 shall result,, ,.. 1I0r 311y ri~ht. uf entry or 'right to u pmInlty or lor-
                        EllPLAIUTION-IUnll..r I'nrl"...01 In 1...IrI·(orrd "rR<·k.. l~ [Ihll~] III lhe nbo¥e bill
                                     Is oot"narl".' an.1 IR Inlen.I.,,1 10 be onlilled in Ihe low.
                                           Maller prinled in IlaUea    '""s  Is· nr.w IIInller.
                        Malter enclosed In a.I..rI"ks or ~Iars has been adopled a. follow.:
                             --As""mblr ("onlmillee amendmenls adopled June 9. 1911".
                            ---Senale eommillee amendments .doilled Februarr 19, 1987.
                          -••-se~.1e eoaualltee amendmeDI .dopled JUDe ,22, 1987.

    "
        ;.
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                                                      <)




         19 fciture shall accrue 1Iy /'('1180n of the disregaru of Rllch promise,
         20 covenant or rc:;lridil>n, This scction shnll not apply to convey·,
         21 :Inces or devises to r(>!igi(lus associations or coqJOralions for rc-
         22 ligious PUt'POSCH, hut; such promise, covenllnt or res1riction shall
         23 cease to be enfol'ceuhle unu 81/all otherwise                 Lecol1l~   subject to.
         24 tho provisions of this section when Lhe real properly affected
         25 shall cease to be used for such purpose.
         26    •••Nothing cOl/lail/ed in this sedion. shall be constmed to bar
         27 atlY person f,.om ,.e/using to sell, rent, lease, assign, or sublease
         28 a'''y rooln, apa1"lmcnt or flat in. a dwelling 01' residential facility
         29 which. is planned cxclusively for 01' OCCUIJied' exclusively f01'
         30 individuals of olle sex to any individual of the 0]J1JOsite sex on
         31 tlte basis of sex. Nothillg in this section shall be cOllstrued to bar
         32 any place of pt ;lic accommodation which is in ils /Iature n~asonably
         33 re.stricted exclusivelJI to individuals of Olle sex, which shall include
         34     but flOt be limited to any summer Ca1~llJ, day camp, bathhouse,
         35 dressing room, and comfm't station, /,.om, ,.efusing, withholding
         36     from, or denying to allY illrlividual of the 01J]Josite sex allY of the
         37 accommodations, adv01£tagf'3, facilities, 01' p,.i·vikges thereof 0,," the.
         38 basis of sex.···
          1    2. u.. S. 46:7-1 is amended to read us follows:
          2    46 :7-:1. Whenever B corporation or ussociution, created under
          3 ailY law of this State, shaH have made, dul'ing its 'corporate
          4 existence, adexl or conveyance of real estate in this State, or of an
          5 interest therein, anu thereafter shall have ceased to exist by reaijon
          G of dissolution, dea1h of its Ulembel'B or otherwise, aud it shall be
           7 discovered that fin errol' exists in sucll deed              01'   conveyance, any
                                                             .
           8 surviving president, vice-prcl:iidellt, director or trustee 01 such
                         .

           !)   defunct corpurution      01'   association may, Ly deeu of confirlllution,
         10 containing a propel' recital, correct tbe error iu the origiuul ueed               01'

          11 convp.)"ance. 11' uo one of the surviving onicers hercinlml'ore uumed
          12 be living, the     ohle~t adult    [son] child, 01', if there l.Ie nOlle Ii ving, tho
          13 oldest udult [gmnclsoll]!p'alldchild of uny such presidellt, vice.
          14 prcshlcllt, las~ surd vlug director or tl'ust~e lIIuy mulm such deed of
          15 <:oufil'lnation:' Prior to 1he muking of any such deed of cOllfirmution,
          J6    tlie person c1aiI'liug 10 1)(\ (!ntitled to the bellefit of 1hiR f'l'rtiOll shull
          17    institute an action ill the [County Court of Hre l'Ol1l1ty in whicll the
          18 affected real estate is situate, or tlll'] Superior Court, ngain5t an".'
          19 person within or without the State herclJ)" authorized to make the
          20 deed of confirmation. The courtmuy proceed therein in Q sllllunary
          21 manner or otherwise and, after considering the ilutureot tho error
          22 or defect in the origiu(ll deed or conve)'once, Qnd the relief Bought,
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     23
     24
            lIIay, if convinced of the merit of the action. direct the proper per-
            son to execute and adwowledgc the cOlllirmutol'y deed.
                                                                                                                         \
     25       If the person so directed to execute the cOJlfmllutorydeeu shall
     ~(;    fnillo cODlply with the ,judgment of the court within twenty days
     27 after the service of        Il   certilied copy thereof [upon him], tim court
     2S     IIInldng the judglllent ma)', upon proof thereof, appoint u com-
     29     missioner to execute the confirmatory deed.
     30       The costs of the action shull be chargeable to the plaintiff.
     31       A confirmatory deed          (,x'~l'uted       alld aclmowledgell               01'   lll"oved in
     32     uccon)anre with the terms of this section shull he us valid and
     33 effective as if duly Jllude, executed and aclmowleuged or proved
     34     under thc corporate s<'lll of RlICh corpQrntioll or association duri~g
     :~5    the period of its cOI'pontte cxistcllcc.
      1       R It S. 46 :7-2 is fll1lClll)ed to I'cad as follows:
      2       46:7-2. 'V'lCrc allY con" "YUllce of real estate hns heen, prior to
      :l    [April sixth, one tlton~l\nd ninn hundred and fiftt'en] April 6,
      4 191.'5, made,         eeuted Hnd recurded, ill which conveyuncc it slJUIl
      5 appear       ~hat   the person!! thel'eil1 named as g1'lllltees h3\'e tnken the
      6     title to such reul estate in behalf of or ill tho interest oj' any un-
      7     illcorporated religious associutioll, society, mC'eting, congre~'tltion
      8     or organization, upon cOlluition that the real estate so granted
      9 aud conveyed E;!tu;l be held in trust for auy specific uses and pur-
     10 poses, and Bucll association, Rociety, meetiug, cong1'cgutioll or or-
     11 gnllizntion slIaH have therenfter bccome illcorporlltcu                               Uli   a religious
     12     society uncler the laws of this State, auy surviving perRon or pcr-
     13 sons named in such           conve~'lU1cc as           a gl'lwtce       lllUr,      by ~l('(ld of con-
     14     vc)'uncc, containing a propel' recital, convC'~r the renl egtnte,men-
     15 tioned ill the origiual con\'C'Yl\lICO to, tho l'elip;iollH llssocinlioJI,
     1G     society, meeting, eou~I'Pglllion 01' o rganizatioll , in hehulf of which
     17 or in whose illtcr,!st title to the sume                       WlIR     taken,       ill    its present
     18 corporate name. If thel'c Rhall be no such lHll'\'i\'ing J.tl'Unte~, the
     I!J oldest mll1ll [SOli] child,           (II'   mIlI!t [graJl(h:oll] grandchild if slIch
     20     [son] child be 1l1'I'I'asl'd, 01' ~nch last HUI'\'h'ing grnlltl'l' may JUake
     :.!I   lh(' deed of COll\'('~'1I11l'1-   1II'I'I'ill   I'I'ovi'l'Jd   l'O)',   I   .                  .


     22     AllY Ill-cd 6f "CIlIIVI'YlllI('C', IIIlllle 11) !lll," Hl11'viving gl'll1lt,ec or

     2:1 g'l'lllltces, or oldest adult [son] child 01' Ullult [.~J'llnd5()1I] gfalld-
     2-l (:hild of the Ins' sun'irill~ A'I'unteC', shall be llS \':llh] allli effedual in
     2:)    lnw as if JJlade. nuu eX('(',uted by the           grnllt(!f';; dal/lN.! ill      sudl t:'Tiginnl
     26     comtcyancc, nnd the title to SUell rcal estate shall therclJr vest ill
     27 tllC1 illcorporntcd religious ussOCiUtiOIl, society, ll1eeting,colIgrcga-
     28     tion or organization, ns effectually ns if the sume hud been ill-
     29 corporated at tIt" time of tho origillul COII\"C~'aIlCO nnd hnd ,tnlcen
     30 title to such real estate directly in its corporate name.
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                                                        4
        1         4. R. S. 46 :9-0 is alllPndpd to rend as foHows:
        2         46:9-9. All nJOI'tr;agps        011    real estnte ill this Rtall',       111111   all
        3 covenants        SUld   sti ll11lntiolls t1wl'p.i n cOlltai Iwd, shall he ll!.;sij;nahle
        4 at law hy writill/;, whl·ther Healed or 1I0t, alld any :meh Ilssij;nlJ1Cllt
        5 shall pass and cOllvey the estnte of the nssignor in the mortgaged
        6 premises, aOlI the assignco llIay sue there01l in his                   OW1I   name, hut,
        7     I   any sueh netion hy the         l\ssign~e,      UlCro shull he lillowf'tl i\1l jnst
        8 set-olTs and other del'f'nses agaiJist the assignor that would hnve
        9 been allowed in allY actIvn brought by the assignor and existing
       10 before notice       of such assignment.
       11         [AU assignments made unuer tbis section by a niarried woman
       12 in,her own right and without. hCI' huslmnd shull bo valilI.]
        1         5. (New section) A tcnuncy by entireties shall be created wben:
        2         a. A husband :md wife together take title to nn                 intt~\'est   in renl
        3 property (r personul JlrOpl!rty uIl(ler n written ir-strullIelIt tlesignnt-
        4    ing hoth or their     1\l1lIIPS   as hushand unu wife j or
        5         b. A husbnnd mltl wit'e hecome the [lesecs] lessees of I'cal prop-
        6 erty or personal property undel' a writtcn instrument containing
        7 an option to purchase designating both of their names as husband
        7A and wife; or
        8         c. An owner spuns,           conn'~'s      or trnnsfers nn interest in renl
        tI   propcrty or persollal property to thc non-own,cr sIJouse und the
       10 owner spouse jointly under written instrument designating both
       11    of their munes as husband und wife.
       12         • ··[ei.] ,• Language which states" . , . , .. and                , his wife"
       13 or"., .. " ... , and                           J   Iter husband" shall be d(~emed to
       14 create a lellancy Try the ('utirety. ~
        1         G. (New section) No instrument cre~tiJlg ··[all),r·                      ··a   prop-
        2 e.·ty" interest U [in]U "on the lJare                       0"·
                                                           a husband and wife
        :l sllnll be construu! to CJ'cnto u tcnuncy in common or n joint tenancy
        4 unless it is exprC'1;sed therein 01' maJ!ifcstly appears from tim tOllor
        5 of the instrument t hat it was intended to create a tenanl'Y in com-
        a mon or joint tellnncy.
        1  7. (New section) Neither SllOlIse may sev!']"! nJi(H1nte,                 OJ'   othorwise
        2 affect their illtm~gt ill the tennncy hy entirety during the mnninge
        3 or upon separation without tIte wl'itten consent of hoth spouses,
        1         8. (New se' tiOIl) UpOIl tlle denUt of either sponse, the survivin~
        2 spouse shall be decmed to have owned the l'dwf(· of nil                    ri~hts      unuf?r
        3 thc original instrmuelIt of purchase, conve)-ancc, or transfer from
        4    its inception.
        1
        2
                  9. The following ··[are]··
                  ••[R. S. 37:7 -18
                                                        ··is··   repealed:
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                                             5
         3      R.S.46:14-1r e
         4.     P. L. 1947, c. 206 (C. 4fi:2D-l).
         1      10. This aet shall tal,o ('Ired on tho !loth clay after elmdmcnt
         2 and shall he applicahle to nil t('uuncios b~' entireties wLich arc
         3 created on or after t1l<> cfTectivc uate of lIJi!'; act.



                                         ClVIL   RIaI~TS
              Amends or repeals Box-biased provisions in 'fitle 4G concerning
              conveyance of real property.                       .




                                                             •       I
                              . III •.
                                                                                     .,
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                      ASSEMBLYt No. 2295

   STATE OF NEW JERSEY
                        INTRODUCED- MARCIl 13, 1986

                            By Asselllhlywllnlllll RANDALL



        AN ACT concerning the elimination of sex as         II    basis for conferrillg
          certain rights and supplementing chaph!r            a of    '1'itle 46 of the.
          Revised Statutes, and      l'~vising and   l'('peliling parts of the   ~tatu­

          tory law.

    1     BE   IT ENACTi~D by   the Senate nnd General Assembl)· of the State
    2   of New Jersey:
    1     1. Section 1 of P. L. 1965, c. 67 (C. 46 :3-23) is amended to read as
    2 follows:
    3     1. Any promise, p.ovenallt or restriction in       II   contract, mortgage,
    4 lease, deed or conveyance or in any other ugreemellt affecting real
    5 property, heretofore or hereafter made or entered illto, which
    6 limits, restrains, prohibits or otherwise provides against the sulc,
    7 grant, gift, transfer, assignment, conveyance, ownership, leusp,
    8   rental, use   01'   occupancy of real property to or hy allY persoll
    9 because of' race, creed, color, national ol'igin, [or] ancc~try, //lari-
   10 tal status 01' sex is l '}rehy dedul'ed to be void as against pnhli,;
   11   policy, wholly UJwnt'orceuble, and shall not         con~titute     a det'l'llSe
   12 in any action, suit or pl·occeding. No such promise, covenant                   01'

   13 restriction shall be listed us a valid provision affecting such prop-
   14   erty in public notices cOllceming' such property. '1'he invalidity
   15 of any such promis(', covenant     restriction ill any such instru-
                                            01'

   16 ment or agl'eement shall not affect the validity ot' an)' other pro-
   17   vision therein, but no reVtlrter shall occur, no           POS!H>8~ory e~tat(\

   18 shall result, nor any right ot' entry       OJ"   right to a penalty     01'   for-
   19 fciture shall accruc hy ,'cuson of the disregard of such promisl',
   20 covenant or restriction. ']'llis scction shull not apply to             C01l\'e~'-
        ExPLANATION-Maller "Ado,," iD bold-laced hraekeb [thua] in the Uo¥e hili
                 ia Dol eDaded aDd i. iDlended to be olqilled in the law.
                        Mallei' prinled Ie. ilaUe. tlleu it Dew mallu.
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         21
         22
         23
              nm~es   or de\'isl'~ to J'('Ii~iou", l\"~Ol'illti,JII,;
              Iigious purposes, but, sudl pl'omi"l', ,'o\'('llallt
              censc to be l'uforceulJh'        I11H1
                                                                        01'   ('(ll'l'lll'ali"\l" \.. 1'
                                                                               OJ'   I'pslrietio\l sllall
                                                       sliall olhl'l'wi"" hl!('1l1l1" slIhjl'l't to
         24 thc provisions of this section wJj('n the rcal !l1'l;P(!I'ty afl'l'cted
                                                                                                            1','


                                                                                                                           I
         25 shall cease to be miCd fOl' sueh pUl'}IOSl'.
          1     2. R. S. 46:7-1 is amellded to read us follow8:
          2     4(; :7-1. Wl.encv(!r a corporatioll or assoeiatioll, erenteu under
          3 any law of thi, State, shall have mucIC', duri\l.~ its ('orporllte
          4 existence, a deed or cOllveyullce of' real estate in this Stute, oi' of' an
          5 interest thercin, and thereafter shull ha\,(! l'~used to l'xist by reuson
          6 of dissolution, death of its members or othl'rwisl', und it shnll be
          7 discovered that un error exists in snd. (lecd or eOIl\'<,ynnc(', uny
          8 surviving president, vice-prcsident, director 01' trl1sh!l! or such
          9 defunct corporatioll or association may, by decd 01" confirmation,
         10 containing a proper recital, correct the error in the origillul tlcpd 01'
         11 conveyullce. If no one of the surviving ollicers llerl'illhpforc nnmed
         12 be living, the oldest udult [son] child, 01', if thcro be nOll!! livillg, the
         13 oldest adult [grandson]gt andc1tild of any such president, vice-
                                                 O




         14 president, last surviving director or trustee may make'such deed of
         15 confirmatiollo Prior to the making of any snch deed or cOllfirmation,
         16 the persoll claiming to be entitled to the benefit of this seetioll sllall
         17 institute an action in the [(Jounty (loud of the couut.y in which thc
         18 affected runl estute is Hituate, 01' tlw] SlIlWI'iol' Coud,                     1I.l.\'lljn~t   lilly
         19 persOll within      01'   without the State lwrehy authorized to mulw the
         20 deed of confirmation. The court may pl'oceed therein in a sUlllmary
         21 manner or otherwise alld, after considcrin~ the llaturc of thc errol'
         22 or defect ill the origiuul deed or COnVH)'ance, and th~ r(~lief sought,
         23   may, if eonvi: ~ed of the merit of the action, direct the proper per.
         24   son to execute and acknowledge the confirmatory deed.
         25     If the person     50   .directed to execute tlae confirmatory deed shall
         26 fail to comply with tlw .judgment of the court wit.hin twenty dnys
         27   after the service of a ccrtifled copy          lhcr(~()r   [upon him], the court
         28 making the judgment may, upon proof thereof, appoint                                   :l   cOIn·
         29 missioner to exe~ut,.. the confirmatory deed.
         30   Tile costs of the uction shall be chargcable to the plaintiff.
         31     A confirmatory deed oxecuted and aclmowledgcd or provcd ill
         32 accordance with the ternis of this section !lImn he as valid and
         S3 effective as if duly made, executed nnd llcknowlf'dg'ed or proved
         34 under the corporate s('al of such corporation or association durillg
         35 the period of its corporate existence.
          1   S. R. S. 46:7-2 is amended to read as follows:
          2   46 :7-2. Where any conveyance of real estate has been, prior to
          3 [April i:iixUl, one tbousand nine lmndred and fifteen] .A pril 6,
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        4    1915, made, ex('cuted and l'('('on)ed, ill whil·lJ        t'oll\'e~'ane('    it shall
        5 appear that tbe pel':-;ons therein nalliNl as           ~nlHtee8   have taken          th~

        6 title to such real e;;tat" ill IwillIlf of or in til(' illten'st or allY lln-
        i incorporated reli1-riollM as~ociatjon, sodety, meeting, e()n~r('gutioll
        8    or organization, upon eonditioll that the rl'L11 mit ute so grauted
        9 and conveyed shall be held in trust for allY specifie usps and }Jur·
       10 poses, and such assol,jution, society, IIIl'eting, congn·gatioll or or-
       11    ganization shall hac thel'cuftCl' hceolllc illcol'poratl'll us a religious
       12 society under the laws of tllis Statc, allY lilll'\'h'ing          IlI~J's()n   or per-
       13 sons named in :mch cOllvcyunce         Ill'! II   gmntec mar. ll.v u{'cd of con-
       14    v~yancc,   containing a propcr I"et'ital, conVP.v the rpllI estate mell-
       15    tioned in the original conv(>ynnce to the reli~rious association,
       16    society, meeting, congregation or organization, in behalf of which
       17 or in whose interest title to the same was tal<en, in its present
       18 corporate name. If there :;bnll be no such                ~nlrviving ~rantce,          the
       19 oldest adult [son] child, or adult [g-randson] ,qra.ndchild if such
       20 [son] child be deceased, of sue 11 last surviving grantee mil)' Illllke
       21    the deed of conveyance herein provided for.
       22      Any deed ot' conveyance, made by auy surviving grantee or
       2:l grantees, or oldest adult [son] child or adult [grl1udsoll] grand·
       24 child of the lsst surviving grantee, shall he as valid and effc('tuul in
       25 law as if made und cxecuted by the grant.eos named ill 'such original
       26 conveyance, llnd the title to such real estate shull thm'ohy vest in
       27 the incorporated reJigitJus association, society,             lII(!Otin~,   congl'cgl1-
       28    tion or organization, as effectually as If the Sllllle had becn in-
       2!)   corporated at the time of the original conveyance alld had taken
       30 title to such real estate directly in its corporate namf'.
        1      4. R S. 46:9 ) is amended to read             8S   follows:
        2      46:9--9. All mort~llges on real estate in this State, and all
        3 covenants SlId stipulations therein cOlltaiJled, shall he ussiJ.,rnnble
        4 at law by writill~, whether sealed or not, nud llny such assignment
        5 shall pass and cOllvey the estate of the assignor in thn mortgaged
        6 premises, and t he a8si~nee may sue th-ercoll in his own name, but,
        7 in any such action h:' the assignee, there shall be allowed all just
        8 set-offs and other defenses against the assignor that would have
        9 been allowed in any action brought hy the                  n8si~nor und existing
       10 before notice Ol s\\('11 assignment.
       11       [All assigm )(mts mnde under this section by a married woman
       12 in her own right and without her husband shall be valid.]
        1      5. (New section) A tenancy by entireties shall be created when:
         2      8.   A husband :l1J(1 wife together take title to an interest              jJl   real
        3 property or personal property under a written instrument designat-
         4   ing both of tlleir names as husband and wife; or
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             5      b. A Imshand and wife' hel'ome tll(, [l\'~"\,,.] :,,~"';"l"~ of I"l'al pr,,:"'·
             6   erty 01' personal propl:'rtr under a writh'll in"trullIl'ut               ('I)ntainin~

             7 an option to IlllI'cha:,,' lll'si!{natinp: hoth of tlu·ir     nllllll'i'!   as husband
             7A and wife; or
             8      c. An owner spouse conveys or transfers un intl'rcHt in rcal
             9 property or personal property to the non-o\\'nl'r SpOUIo:C and the
            10 owner sIloUSC jointly under writhm instrument dcsi~natin~ hoth
            11 of their names as Inj .band and wifc.
             1     6. (New section) No instrument cI'('atin~ un)'          intP1'(~st   ill a Inu;bulld
             2 and wife slmll bc construed to create a tenuncy in common or a joint
             3 tenancy unless it is expressed therein           01'   Jnunifl'lltly uppeal's from
            4 the tenor of the instrument that it was intended to crente a tenalley
            5 in common or ,ioint tenancy,
             1     7. (New section) Noither spouso nmy H(\V(\r, uli(lllllte, OJ' otherwiso
             2 affect their interest in the tenancy by entirdy during the lHurl'iagc
            3 or upon separation without the written consent of both SPOUS(\8.
            1      8. (New !Seetioll) Upon" the death of either spouse, the surviving
            2 spouse !Shull hI! deemed to IlD,ve owned the whole 01' ull rights undm'
            3 the original instrument of purchase, conveyance, or tl'UlIsfel' from
            4 its inception.
            ]      9. The   followin~    aro repealed:
            2      R. S. 37 :~-t8
            3      R. S. 46:14-1
            4      P. L. 1947, e. 206 (C. 46 :2H-I).
            1   10. This act shall take offoct on the 90th day aftel' enactment
            2 and shall hll applicahh to all tenanCip.8 by ontireties which are
            3 created ou or r fter tll(' elfective date of thhl, nct.


                                        STATEMENT
                   This bill amends and repeals certain sex hused provisions ill
                 rritle46 concerning conveyances of real property.
                   This hill also revises New JerRey case law defining the cOllcurrollt
                 ownership of' propert,y between husband and wife. At commOll Jaw,
                 the husband enjoyed exclusive control alld power over entirety
                 property. By vil'tue of New Jel'sey's Married Women'R Property
                 Act, married womell's rights in entirety property were increased
                 to equal th08.! rights previously llxercislld by thl' hushand alone.
                 Presently, husband and wife hold marital property as tenants in
                 common during their joint lives with the right of survivorship
                 (each one owns the whole) retained as at common law. As tenants
                 in common each spouse has a separate right to encumber the prop-
                 erty without the consent of the other spouse.
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          This hill is proposed hased on the rE'COnIDlendation of the Com-
                                                                          .
         mission on Sex Discrimination in the Statutes. It codifies tenancY
                      ,


         by entirety ~uch that during' the marriage neither spouse may
         sever, aliellate, or otherwise aiied their interest in cntiret)- prop-
         erty during ~he maniage or upon separation without the mutual
         written con~ent of the spouses. This reflects the commission's
         policy that marriage is an economic partnership.



                                   CIVIL RIGHTS
         Amends or repeals sex-biased prodsions in 'ritJe 4fi conccl'Iling'
         conveyance of real property.
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                                    I                                                                       Desc
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                      ASSEMBLY JUDICIARY COMMITfEE
                                    :      S'rATI~MmNT         TO
                          ASSEIViBLY, No. 2295
                                    I                     _.




       STATE pF NEW JERSEY
                                    IDATED: .JUNE 5, 1986


         Thp Asselllhly .hl{ ieiary COllllnitt(l(' l'ppOl'll' f'u\'ol'llhly a III I with
       eomlllittp(~arllpndllHmt~ Ass(llJlhly Bill 1\0, 22fl!i.
            ,                      I          '

         'l.'his bill amends llJJ~ reppals certui II SI.~X ha~wd provisions in Title 46
                                    I
       concm'nillg cOlweyancels of real property.
                                    I

         1'his hill also revises New Jel'scy casp law defiJ:ill~ the eOIJCUTrcIlt
       ownership of property IwtW('(~ll hushand amI wife. At                       1'0111"'011    law,
       the husband f!njoyed ~'xf'1usive control and power                OVl'),   elltil'(!ty prop-
       erty. By viJ'tue of Nf'w .Jersey's l\fal'1'ied \Vomml's                    P),otJ(~rty     Act,
       married   WOIIIPII'S   rights in entirety property w(!rt' iJl('l'(~Ilf;('(1 to equlll
       those rig-litH fll'cviously ('X(~rCiHed hy tlte hw.;hulld aloue.                  PI'(~I.;plltl)',

       hushand and wife hold Inurital Ill'Operty           IlS   tt'lIllnts iu eoun~::lII dllrjll~
       their joint lives with th.. right of survivorship (eacl. Oll() OWlljo; till'
       whole) retailled as at comlllon law. As tenants ill              ('0111111011   pm·1t KJlOlUif\
       hus a se.ramte right to encUllIhpr the property without llr(· ('ous,mt
       of the other spouse.
         To protect the nOIl-dehtor spouse Ulld flIlBlll'(! tlmt IIlllritnl property
       is joillt.ly IlIallllg'pd, 11lil'l hill coclifips t('IIIUl(~Y hy ('liliJ'(~ly. 'I'Jw hill
       cl'eat(~s a pl'eSllIllptioll 1hat husband IlIH/         wi 1'(1 hold as 1W UlJI til hy Ull'
       entirety whenever they hold property tog(~th('J', U1dess the doel1JJlc"t
       of title expl'l~sses otherwise. 1'he hill pl'Ovidm; that neitJwr spous..! 1Jluy
       sever, alienate, or othcrwise affect his or her iutcrest ill the entirety
       property (luring the murriagp. or UpOIl separation without tIle mutual
       written consent of both spouses. If pon <leath, the surviving spouse
       owns the property us          II   whole. TIle hill also provides that tl'lIuncy hy
       the cntirety should apply to personul property hcld by husband and
       wife.
         In its orip;iuul     1'01'111,   IJ)(· bill added marital statns and sex to the
       protected classes uuder the stutute prohibiting the use of discriminatory
       clauses ill the cOl1wyallc(' of real property (N. ,J. S. 46:3-23). By
       amendment, marital status: was omitted from the proreett~i classes
       thut would llUve heen added to th,,! stutute under the bill. The com-
       mittee felt that this may have operated contrary to pre-nuptial agree-
       ments persons may wish to enter. However, the committee expressed
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          its ullticillutioll' thnt it would cOllsidel' fortheollliJlg h'gis\ntion addres-
          sillg such discrilllillntiOJI as it Il.ffectcll leuses and l'(llltal }1l"Operty.
          LC'gislatioll is aliso allticijlated whieh would Ileal with ]ll'l>'llllptial   Hgol'ee-
          ments.               !


            ~he cOll1mitt~~ also amended tlw bill to clarify the methods lly which
          tenancies by th~ entirety may be created.
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          SENATE STAtE GOVERNMENT AND FEDERAL AND
          INTERSTATF REtAT.IONS AND VETERANS AFI~AIRS
                          COMMITTEE
                                                       S'I'1\'I' KMK!'\'P TO

                                      ASSEl\iBLY, No. 2295
                                                  IOFFICIAL COpy HEPHlNTj

                                           wit" S(!lIall' ('()lllIlliH(·(· allll'l\(lnll'lll,;


       STATE OF NEW JERSEY
                                             1);\'1'1':1>:   FI1~BHLTAHY             HI, 1!JS7

         TIll' S('Jlllle Slall' (lO\'('I'III1U'lit COlIlJllitte(' I'ep0l'll' l'a\'Ol'ahly awl willi
      (~omlllittl'l'         HIlWIHIJI1l'11I" A"S('lllbly Bill Xo,                  ~2!);) f)(       'IL
         'Phis hill allll'lIds alld )'('III'ah, rllI'iolls jll'ovisiolls ill 'l'illl'                                     ~Ii   or IlJl'
      Hl'vi:.;cd Stalutl's ('!lIi('('I'lIing' tlil'                ('()II\'I'~'l\I)('(l   or rl'al PI'O[1l'I'ty, It als"
      suppleJIIl'lIts           TilJ(~      4fi with pl'tl\'jsioIlK COII('('rllillg'             ('01\('111"'1'111      OWl1l'1'ship
      of n'nl and )lersonal pl'opedy hy a hllslltlll.<l alld wifl',
         'rhe hilll'l"ohihits the lise of restrieti\"(l (,o\'l'naIJfs ill illstrlllll .. l!fs nl'-
      f(·dillg' I'eal property, 1'1ll'11 as ('ol!fl'aC'fs, IIlOl'lg':!g'I'S, I(·as..,;, d('..ds 01'
      ('OII\'I'~'alJ('I'S, ll~'        prohibiting' till' sall', assigllllll'lJf. )'('lIlnl                     01' 01111'\'    tl'llll"·
      I'l'rs to allY          Jl(~n,:oll     lll'('aIlH' or tlw Jll'I'SOIl's Sl'X             01'   IIl11l'ital stat II:':, ('111'-
      1'l'IItly flle law \!rollihils I'l1eh J'('stl'idiom;                           1'01'    \'(·ason:.: or I"at'p. (·1·....".
      ('olnr, national ol'igin. 01" ancC'stI"Y. 'rlu' hill also                                  111:11\:,·:;    g'(I\ld.. J'-III'IIII':J1
      whn lIlay ('x(I('utr 11 d(l('«1 of                (~on(jnllaljoll ill tl((~            (,\"I'llt or       dis~ollllioll      of II
      (,ol'pnl'atioll          01'   t 11(' dC'at h of its 1lIC'1ll hI' I"S.
         With J'(~Sr(wt to COlWIIJ'J'('IIf, OWII(,I"I,dlip, tlu' hill pl'o\'idpS tlml a l""lllll'Y
      Ily 1111' f'lItil'l,ty slllJll II" ('J'('alp" wlH'n                  It   IIlJshawl all(l \ViI'I' tal\.. lilh· If)
      an intf'l'est ill I'rH 101" I 11'1":-'0 II al pl'oprl't~· ali 11\I:.;IHlll<l and \Viff': 01" IU'eollll'
      lessf'rs          or I'pal     01'   pel'soll:l! property as hushand Hlld wi/'p: 01' ",IIpII                                   all

      0\\'11(11'        lipOHSf' trailS 1'1'1"" I"l'al       01'   pl'l'sona I pl'opl'rt y to till'                     JlOI Hl\\'Jlfl I'

      :4I Hl11S f' jointly. During' a malTingf'. 01' IJPOII ~('p:tT'alion, lll'iIJ1l'1" :-POIJ:-c
      Hlay sever, ali(lllal('. 01" othp.'w;s(' alTI'(,t tl((' SpOUl';P'S illt(II'pst ill tl'nancy
      hy Uw f'lItirdy witllolJt tIle wl"ittPJI eOllsent of the othl'l" SPOllS('. l7poll
      (1I'atll. t1w slIl"viving- Sl'fln".. I'IIall OWII till' pl"opel"ty as a wlIolt,. 'l'Pliallcy
      ill ('0 III III on 01" .ioillt IPllHIICY, ('ithC'1"            or which cllahlcH PHc·h S)l0ll:':1' to ('11-
      eUlllhel' thp property without the eon sent of till' otJIPI', llm!"t It.. cx-
      Ill'pssly statl'c1 ill all~' ill:.:ll"Hl1ll'lIt cl'eatil11! a proJl(']"t~· inlpl'p:.:L
         The !Jill repeals P, L. 1!1·!7. (', 200, which                             cr('atl'~        a prC'sIUllptil}!l that
      wlwn         It    Illol'tgng'p is f'lItl'l",,11 into or assi,t;ned to a hllshantl and wif.-.
      the property is held ll:.; joint tenants.
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                                                                                                           ·




                           I                           2
            The comrnit~ee amended the bill to;
            (1)   reiJ1sm'~,    tlIe prohibition against rest.rictive covena.nts ill rt'ul
          estate tl'llnsfc'"r 01' ('ollveyallccs OIl the basis of marital :,tat U~.   l)t\lievin~

          that includin~ trmrilal status woulu not affect the vulillily uf pre-I,uptinl
          agreements j     I
                            I

            (2) clarify <rcrtai n lan~unge; and
            (3) eliHlina~e the       J'CpNt.1   of R. S. 37 :2-18 am]   n. S. 4G:14-1.
            As amended,', ASfielllhly Bill No. 2295 OCR Sea is id('nii('al to Sell-
          ate Bill No.   16~6     Sea.
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                                      ASSE:~~~~~~~T:. 2295
                                                  r01"1~1~"AL l ~()py HIWUJN'I']
                                                      I il~NA''''': JlJ.:l>IllN'r]
                                                        I


       STATE OF NEW JERSEY
                                                  DATED: .TUNg 22, ]987

          'Pllp. Senate .J lldi('iary COllllllitter ,'c)lorts fnvol'llhly ami with                                ('0111-

      Illittl''' UllwllIlments              Assemhl~;          Bill No. 22n5 OCR (Senate Reprint).
          The hill anwllds alld f('p~nll'1 \rariou~ provisions in Title 46 of the
      Bflvis(·d Rtatutes                (,01le(~rnillg       tll('    COJlv<~ranee        of real property. ']')w hill
      nIso sllppll'lIlf'lIts            '''jth~   4fi with p,'ovisiom;              coneernin~ concurrent       owner-
      !-:hip 01' "eal alld jlf'l'sonul property hy a hushuJI(} alld wife.
          'PhI' hill pl'olJihits t1w use of restridive eovenunts in hlstrlllllPllts
      affeeting' real propeJ'ty, suell                       fiS     contrncts, mortg'ag'cs. lellsrl';, df'l'dloi or
      ('(lfJ   r(,.ralle('s. by proll ihi ti lip,' the salfl, assiwunont, rental or other trnn~­
      !'l'\"S to all~' pe1'SOIl heeuw;p of the rWJ'son'F1 Hllll'ital status or Hex. Cur-
      1'l'lItl.\' tIll' law pr'oltihits such IWlh'idiollS for reasolls of race, crf!ed,
      ('(lIm', natiollal orig-in. 01' alWllstry. 'PhI' hill al:-;o makes /.tender-Iwutrlll
      \l'ho 1lH1~'        f'XI'('11tp   n df'prl of cOIlflrlllatioll               ill   the f>\··ent of dissolution of
      a l'O)'pOl'ati01I         OJ'   tlIP dpatll of its memhers.
          With l'f'sppd to conc11rrent oWJlership. the hill provideR thnt a
      t('1HlIH'Y'    hy tile entirety shan he created when a                                 fillS hand   and wife tnke
      Wle to 1111 intf'l'Pl'It ill r('al 01' J1Pl'ROllal property as husbnJld llnd wif(~:
      Ill' h('('olllf' Irsscl't"1 of "eal              OJ'    pf'J'sonal property as hushand and wife
      lll1df'l'    fiJI    agreement C'ontainill!!,' an option to purchase; or when an
      fIIl'lI!'J' :-;f/OlJSP      trun!lrp.r~ real             or personal property to the nonowner
      ~'HlllRI' lllld the owner 81'0118f' :ioil1tl~r. During a marTia~e, or upon
      sfO[lnl'atioll, Iwith(!J'            SPOilSI'    JlI:t.V       SI'VI'I',   alienate, or othenvisc afff!ct the
      Hf10IlHI"S      iJltl'r(~st in tf'lIfill<'y h~' f 11l~ Plltirety without the written consent
      of till' ot]I('!' Rp011SP. TTpOll f!fl;tt h. tlw i'UJ'viviJlg' spous£> shall own the
      l'l"Op('l'f~' as a whole...\n illS! 1'1Imrnt ('r('ating' a tenancy in commoJl or
      .inillt tt'lHl.m·~· hetwf'cn a hushnnd and wife. either of which enables each
      ~f10l1:W to ('nc·umher tllE' prop('rt~· ,,"j thout. t}J(~ consent of the other,
      lIlu~f he expressly statecl ill aJl~' instrument creatin~ such a property
      interest.
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                                                       2
             The hill rl'p~als N. J, S. A. 46 :2D-l which creates a presmnption that
           when a Inortdaze is fIltered i.nt~) or assl.!!Ited
                             ~I   ~                    -
                                                              to     t\   hushand a!ld \,,-i!e.
           the prop()rt~· i~ held as joint tenants.
             Ttw   llmelldT~umts adopted       hy the committee deal with those sections
           of the hills wllich prohibit the sale or rental of real prollerty because
          of sex OJ' murital status. 'I.'he amendmcut::; provide that this prohibition
           shall not 1)('    OOlHlt "ued   to prevent the refusal to sell or rent when a
           residential facility is exclusively planned for or (~xc1usively ocrupiec]
          hy one sex. Under the amendments, this prohihition is also not to he
          I'ollstrued as preventing         aIlY   place of public accommodation which is
          in itiol nnhll'(1 l'easonahly restrietcr] exclusively to persons of one sex,
          ~nch aR a        camP. l)athhouse, dressing- room or comfort station from
          dfmying-   01'   I'('fusing- service to persons of the opposite sex.
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                             STATE OF NEW JERSEY




                    COMMISSION ON
                 SEX DISCRIMINATION
                   IN THE STATUTES


          TOWARD ECONOMIC EQUITY


    RECOMMENDATIONS FOR THE ELIMINATION
         OF SEX DISCRIMINATION IN THE
     CREDIT, HOUSING, INSURANCE, PENSIONS,
    PROBATE, PROPERTY, PUBLIC OBLIGATIONS
               AND TAX STATUTES


                        EXECUTIVE SUMMARY


                                 JANUARY 1985

                          TRENTON, NEW JERSEY

                                THIRD REPORT


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                    PROPERTY


                    During     marri~e   neither spouse should be able to
                    encumber the family's property so that the other spouse is
                    left financially destitute. Spouses should not be able to
                    encumber jointly owned marital property without the
                    consent of the other spouse.      Upon death, ownership of
                    marital property should automatically reside in the
                    surviving spouse.



                    The Commission recommends three policy changes in the
                    area of property.


                    The Commission recommends that certain sex-based pro-
                    visions concerning conveyances of real property be
                    amended, such as those which restrict the execution of
                    certain confirmatory deeds to male heirs.


                    New Jersey case law defining the concurrent ownerShip of
                    property between husband and wife is revised.             At
                    common law, the husband enjoyed exclusive control and
                    power over the property.       By virtue of New Jersey's
                    Married Women's Property Act, enacted as a property
                    reform during the mid-nineteenth century, a married
                    woman could own or manage property. Presently, husband
                    and wife hold marital property as tenants in common
                    during their joint lives with the right of survivorship (each
                    one owns the whole) retained, as at com mon law.          As
                    tenants in common each spouse has a separate right to
                    encumber the property without the consent of the other
'. ~-               spouse.




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        The Commission recommends the enactment of a tenancy
        by entirety provision so that neither spouse may encumber
        property during the marriage or upon separation without
        the mutual written consent of both spouses.        Upon the
        death of one spouse, the surviving spouse automatically
        owns all marital property. This reflects the Commission's
        policy that marriage is an economic partnership.


        Women still constitute the majority of spouses whose
        names do not appear on the deed to the family home.
        This allows a husband to independently make economic
        decisions that may place his wife and family in financial
        jeopardy. Therefore, the absence of protections against
        forfeiture of homes due to debts incurred by one spouse
        impacts more heavily and in a discriminatory manner upon
        women.   In order to shield a debtor-spouse's family from
        the drastic penalty of losing the family home and becom-
        ing charges of the State, the Commission recommends the
        enactment of a homestead exemption.       The homestead
        exemption protects a debtor's family from becoming
        destitute and being forced to seek public assistance. The
        first $10,000 or 50% of the equity in the homestead
        property from the sale of the homestead property goes to
        the debtor's family. No formal declaration of homestead
        property is required before the debtor may claim the
        homestead exemption.      The homestead exemption is not
       absolute and does not extend to all debts incurred by the
        debtor. To protect the non-owner spouse, the Commission
       creates a presumption that both spouses contributed to
        the homestead property.


        If a jUdgment debtor within the State chooses to file for
        federal bankruptcy, the judgment debtor would be pre-




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               eluded by §522 of the Bankruptcy Reform Act of 1978,
               which sets out the federal exemptions, from also claiming
               the State homestead exemption.       The judgment debtor
               would be barred from claiming a double exemption for a
               homestead under both State and federal law, and is forced
               to choose between the two exemption schemes.



               BILL NUMBERS:     Senate Bill 2lll
                                 Senate Bill 2105




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                         STATE OF NEW JERSEY




                    COMMISSION ON
                 SEX DISCRIMINATION
                   IN THE STATUTES


      TOWARD ECONOMIC EQUITY


 RECOMMENDATIONS FOR THE ELIMINATION
      OF SEX DISCRIMINATION IN THE
  CREDIT, HOUSING, INSURANCE, PENSIONS,
.PROBATE, PROPERTY, PUBLIC OBLIGATIONS
            AND TAX STATUTES




            I
                             JANUARY 1985

            I•        TRENTON, NEW JERSEY

                            THIRD REPORT
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                                                                            Chapter 6
                  CHAPTER6-PROPERTY
            The Commission's extensive review of marriage and
            family law within New Jersey during 1980 and 1981
            revealed the inadequacy of economic protection and the
            absence of economic recognition afforded the non-wage
            earner spouse during marriage. Since the vast majority of
            non-wage earners in marriage are women, the inadequacy
            of economic recognition and protection under New Jersey
            law   has   a    disparate,   negative   impact   on   women.
             Furthermore, even those women who do work outside. the
            home earn, on the average, far less than their husbands
            because of the discrimination they face in the labor
            market.l 36


            In its report on "Sex Discrimination in Marriage and
            Family Law"137 issued in 1981, the Commission presented
            recommendations to eliminate sex based discrimination in
            the statutes which determine the distribution of marital
            assets at the time of divorce.       The elimination of sex
            based discrimination in the statutes which determine the
            interests and estates in real property during a marriage is
            an extension of the Commission's study of family law.
            The Commission's recommendations for changes in New
            Jersey Statutes Annotated Title 46 are based on the same
            principle that was the basis of its recommended changes
            to New Jersey Statutes Annotated Title 37 the Married


            136Commission on Sex Discrimination in the Statutes,
            "Wage Discrimination in New Jersey State Service: An
            Analysis of the Data," March 1983.

            137Commission on Sex Discrimination in the Statutes,
            "Sex Discrimination in Marriage and Family Law,"
            October 1981.




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       Women's Property Actsl38 (see Senate Bill 552). The
       Commission's position is that marriage is an economic
       partnership and the laws of a state should reflect this
       principle.

       Although New Jersey has adopted the quasi-community
       concept of equitable distribution at divorce, and has
       reformed its probate laws to reduce sex-related inequities
       (see Chapter 5 - Probate) the fact remains that in New
       Jersey if a husband is a wage earner and a wife is a
       homemaker, she has few marital property rights in an
       ongoing marriage because the wage earner is usually the
       title holder and controls the assets.I 39


       As previously stated, an underlying concept which has
       guided    this   Commission     in    formulating     its
       recommendations, is that marriage is an economic
       partnership in which both parties have obligations and
       duties. Additionally, both spouses are entitled to share
       equally in the gains and acquisitions of the marriage
       partnership during its existence. Only a partnership
       model of management, control and legal ownership during
       marriage will ensure that an egalitarian property system
       within New Jersey is realized.




       138The Married Women's Property Acts were enacted
       during the mid-nineteenth century to grant to married
       women the same legal property rights that single women
       and men possessed.
       139Brown, Barbara A. and Freedman, Ann E. et al.,
       Women's Rights and the Law, New York: Praeger
       Publishers, 1977.




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                Although a husband's earnings may be the immediate
                source of marital assets, it is the combined labor and
                industry of both spouses which contributes to the
                 acquisition of these assets)40 Therefore, a wife need not
                 "purchase," or contribute money to the acquisition of
                 property in order to hold an interest in real or personal
                 property on which her name appears on a written
                 instrument   of   title.   In   each   of   the   Commission's
                 recommendations for changes in the statutes regarding
                 property rights, a non-wage earner spouse is credited for
                 her or his labors at home; the work of a homemaker is
                 assigned value during the lifetime of the marriage.


                 What the Commission has recommended is more than just
                 economic protection for a homemaker; the Commission
                 has sought to create a present, economic recognition of
                 the value of the work done by the spouse who works at
                 home.




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                   TENANCY BY THE ENTIRETY
      Ownership of marital property should reflect an economic
      partnership principle. Tenancy by the entirety, which is
      one of three forms of property (the other two are joint
      ownership and tenants in common), is the form of
      property ownership that is restricted to married persons.
      At common law, the tenancy by entirety was based on the
      concept of marital unity,14l whereby the husband enjoyed
      exclusive control and power over marital property. The
      wife's only right was that of survivorship. The right of
      survivorship guaranteed the wife full ownership of the
      entireties property, without probate costs, if her husband
      predeceased her.


      In the mid-nineteenth century, the Married Women's
      Property Acts accorded married women full control over
      their separate property, but among the states and the
      courts there is a difference in opinion as to the impact of
      these acts upon entirety property)42

      The majority of the states143 that have retained 'tenancy
                                                                                .
      by the entirety provide that neither spouse can alienate or



      141 R. Powell, Real Property 683 (rev. ed. 1970) "Husband
      and Wife Were One, But Husband Was the One," cited in
      M. Spiessbach, "Weeding Out the Troublesome Plant of
      Tenancy by the Entirety," 2 Seton Hall L. Rev. 415, 416
      (1971).

      142Johnston, "Sex and Property: The Common Law
      Tradition, The Law School Curriculum and Developments
      Toward Equity," 47 N.Y.U.L. Rev. 1033, 1085 (1972);
      Phipps, "Tenancy By Entireties," 25 Temp. L.Q. 32-35                      j
      (1951).

      l43Delaware, Washington, D.C., Florida, Indiana,
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      Maryland, Missouri, Pennsylvnia, Rhode Island, Vermont,
      Virginia, Wyoming.                                                            I

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                 encumber entirety property without the consent of the
                 other spouse. Entirety property is protected from the
                 separate debts of either spouse. The creditor must wait
                 to determine which spouse survives and then may only
                 collect on a separate debt if the debtor spouse survives.
                 This interpretation offers protection to the nondebtor
                 spouse.


                 New Jersey court decisions represent the minority view of
                 the effect that the Married Women's Property Act
                 enactment had on tenancy by the entirety.          In King v.
                 Greene, 30 N.J. 395 (l959), the New Jersey Supreme Court
                 held that under tenancy by entirety, husband and wife
                 hold as tenants in common during their joint lives with a
                 right of surivorship. Each spouse has a separate right to a
                 one-half interest in entirety property during the marriage
                 subject to the survivorship rights of the other spouse.
                 Either spouse can alienate or encumber his or her one-half
                 share. Thus creditors may seek partition or an accounting
                 to satisfy one spouse's separate debt. The creditor is also
                 entitled to collect against the right of survivorship of the
                 debtor spouse if the debtor survives.       If the nondebtor
                 spouse   survives,   the   nondebtor   is   entitled   to   full
                 ownership of the entirety property.


                 In general, entireties ownership is intended to protect
                 property of the marital unit by insulating it from claims
                 of separate creditors or from mismanagement by either
                 spouse operating alone.     These protective features of a
                 tenancy by the entirety make it beneficial to wage-earner
                 spouses as well as non-wage earner spouses•




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   If the property is protected from the separate creditors of
   each spouse during the marriage, the wage earner, usually                     I.



   the husband, can satisfy a desire to assure some measure
   .of security for his or her non-wage earner spouse and                        I

   their children. This can be done without the wage earner
   relinquishing control over the entireties property. At the
   same time, a non-wage-earning spouse benefits from
   tenancy by the entirety by gaining ownership and control
   of property that, in most instances, would otherwise
   belong to the wage earner alone. "A non-wage earning
   spouse or one who has custody of the children is protected
   during separation from being forced either to purchase
   the other half of the property or to find new housing at a
                                                                                      i
   time of financial insecurity."144 The surVivorship rights                          I
   under tenancy by entirety assure passage of the property
   without the complexities or costs that may accompany
   probate.                                                                      J
   The benefits that enure to married persons who hold
   property as tenants by the entirety have led to the
                                                                                 ~I
   Commission's decision to recommend the enactment of a                         J
   tenancy by the entireties statute. The statute would
   create a presumption that husband and wife hold as                            J
   tenants by the entirety whenever they hold real or
   personal property together, unless the document of title                      J
   expresses otherwise. In addition, the statute would                                I
                                                                                      I
   require that entirety property be jointly managed by both                     j
   spouses. These provisions will bring New Jersey into                               I
                                                                                 J
   144Babock, Barbara Allen, and others. Sex Discrimination
   and the Law: Causes and Remedies. Boston: Little,
   Brown and Co., 1975.



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                 line with the majority interpretation of tenancy by the
                 entirety and will encourage a greater number of spouses
                 to hold entirety property.




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                              STATUTE
      N.J.S.A. 46:3-23
      Restrictions upon transfer or use of realty


                              SYNOPSIS
      This statute prohibits the use of discriminatory clauses in
      the conveyance of real property and lists protected
      classes. Sex and marital status are not listed.


                         RECOMMENDATION
      Amend


              BILL NUMBER AND SECTION CITATION
      Section 1 of Senate Bill 2111


                             DISCUSSION
      The Commission recommends the expansion of this anti-
      discrimination protection to include sex as a protected
      class. The Commission also recommends that the bill be
      amended in committee to include marital status. For a
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      complete discussion of the Commission's rationale see                         !


      Chapter 1 - Credit of this report.
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                                     STATUTE
          N.J.S.A.46:7-1
          Confirmatory      deeds       in     conveyance      by   defunct
          corporations


                                    SYNOPSIS
          This    statute   restricts        the   execution   of   certain
          confirmatory deeds to male heirs, the oldest adult son or
          the oldest adult grandson.


                             RECOMMENDATION
          Amend


                    BILL NUMBER AND SECTION CITATION
          Section 2 of Senate Bill 2111


                                    DISCUSSION
          The Commission amends this statute to permit female as
          well as male heirs to execute confirmatory deeds of
          conveyances of corporation or association property.




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                               STATUTE
      N.J.S.A. 46:7-2
      Transfers of real estate for benefit of unincorporated
      religious groups


                               SYNOPSIS
      This statute is similar to N.J.S.A. 46:7-1, and restricts the
      execution of certain confirmatory deeds to male heirs,
      the oldest adult son, or the oldest adult grandson.

                         RECOMMENDATION
      Amend


              BILL NUMBER AND SECTION CITATION
      Section 3 of Senate Bill 2111

                             DISCUSSION
      The Commission amends this statute to permit female as
      well as male heirs to execute confirmatory deeds of
      conveyances for the benefit of unincorporated religious
      groups.
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                                               STATUTE
                      N.J.S.A. 46:9-9
                      Assignments by married women


                                               SYNOPSIS
                      This statute, which deals with assignments of real
                      property, provides that an assignment made by a married
                      woman without her husband is valid.


                                         RECOMMENDATION
                      Amend


                                BILL NUMBER AND SECTION CITATION
                      Section 4 of Senate Bill 2111


                                             DISCUSSION

"                     The statute was enacted as part of the Married Women's
                      Property Acts reforms of the nineteenth century to
                      ensure that a woman retained property rights after her
                      marriage.    The Commission's policy (delineated in the
                      "Sex Discrimination in Marriage and Family Law" report)
                      is to delete sex-based provisions if they are no longer
                      relevant. The Commission's proposed legislation, Senate
                     . Bill 552 either amends or repeals similar provisions in the
                      New Jersey Statutes Annotated. In order to ensure that
                      common law disabilities are not revived, section 5 of
                      Senate Bill 552 provides that:    "a person is guaranteed
0/
    I                 rights in every area of law without regard to sex or
    I


                      marital status, except as otherwise provided in this
                      amendatory and supplementary act.          Nothing in this
                      amendatory and supplementary act shall be construed to
                      revive common law disabilities based on sex or marital
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       status." The Commission therefore amends this statute to
       delete the provision allowing a married woman to make an
       assignment.




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                                       STATUTE
             N.J.S.A. Title 46:14-1
             Acknowledgments by married women


                                      SYNOPSIS
             This statute provides that a married woman may freely
             execute deeds and instruments enumerated in the statute
             as if she were a femme sole.


                                  RECOMMENDATION
             Repeal


                      BILL NUMBER AND SECTION CITATION
             Section 9 of Senate Bill 2111


                                      DISCUSSION
             The Commission repeals this statute as it is no longer
             relevant by today's standards of equality. For a complete
             discussion of the Commission's rationale see page 629 of
             this report.




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                                       STATUTE
          N.J.S.A. 46:3-1 et seq.
          Estates and interests in property and alienation thereof in
          general


                                       SYNOPSIS
          This chapter regulates the holding and transfer of
          interests in property.


                                RECOMMENDATION
          Supplement


                    BILL NUMBER AND SECTION CITATION
          Sections 5-8 of Senate Bill 2111
                                                                                   I(




                                    DISCUSSION
          At common law, the tenancy by entirety was based upon a
          concept of marital unity, whereby the husband enjoyed
          exclusive control and power over entirety property. The
          wife's only right was that of survivorship. By virtue of
          the Married Women's Property Acts, the wife retained the
          right to manage and control her separate share of the
          property.

          Entireties ownership is intended to protect marital
          property by insulating it from the claims of separate
          creditors or from mismanagement by either spouse                              ,
                                                                                    r'
          operating alone. To ensure this benefit to married
          persons the Commission recommends the enactment of a
          tenancy by the entirety provision which creates a
          presumption that husband and wife hold as tenants by
          entirety whenever they hold real or personal property
          together,    unless    the    document   of   title   expresses


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              otherwise.    In addition, the Commission protects the
              entireties estate by requiring that entirety property be
              jointly managed. Neither spouse may sever, alienate or
              otherwise affect their interest in entirety property during
              the marriage or upon separation without the mutual
               written consent of both spouses.         Upon death, the
              surviving spouse owns the property as a whole.           The
               Commission    believes that   this   tenancy   by   entirety
              provision will ensure that a greater number of spouses
               hold as tenants by entirety, thereby receiving the benefits
              of the entireties estate.




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                            HOMESTEAD


      Almost every state has homestead laws in one form or
      another, the earliest having been enacted in Texas in
      1829. They are statutes in most jurisdictions, but also
      exist in the form of constitutional provisions)45 The
      general purpose of the homestead laws is the security of
      the family, which in turn enures to the benefit of the
      community to the extent that such security prevents
      pauperism (with the resultant drain on the state's
      "welfare" resources) and provides the person benefited
      with some measure of stability and independence)46 The
      policy underlying homestead laws thus parallels the fresh-
      start philosophy which underpins bankruptcy laws.!47

      The three most common categories of homestead laws are
      (1) those which exempt homesteads from execution for
      certain types of debt; (2) those which prohibit a
      homestead owner from selling or mortgaging the
      homestead without his or her spouse's consent (see
      Chapter 5 - Probate, page 573 of this report for a
      complete discussion of this issue); and (3) those which
      allow a homestead owner's family to remain in the
      homestead after the owner's death.

      l45Homestead laws are American in origm and did not
      exist at common law. C.J.S., Homesteads §2.
      l46Casner, A. James, 1 American Law of Property,
      Homestead Rights, §5.75, Little-Brown: Boston, MA
      1952.
      147One of the principal devices employed by the federal
      Bankruptcy Act to ensure that a bankrupt will have the
      ability to make a fresh start is the express recognition of
      existing state law property exemptions (e.g. homestead
      exemptions). 11 U.S.C. 522(1978).



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                Although the definition of homestead varies from state to
                state, it is generally thought of as the dwelling and land
                which an individual or family occupies as its primary
                residence.     (In some jurisdictions, family farms and
                businesses enjoy the homestead privilege.) The homestead
                protection from creditors usually exists in the form of a
                dollar value exemption.    For example, if a state law
                grants a $50,000 exemption, a family home worth $45,000
                will be totally protected. If the home is worth $75,000, a
                creditor may be allowed to take a severable part of the
                building or land which is worth $25,000. If the homestead
                is not severable, the court may allow a sale of the home,
                giving the debtor $50,000 from the proceeds.


                Most homestead laws are not absolute. Certain types of
                debts, such as purchase money mortgages, taxes, and
                debts incurred in the improvement of the homestead are
                not covered.   In addition, some states deem it fair to
                allow homesteads to be sUbject to creditors' claims for
                debts incurred before the debtor acquired the homestead.


                Finally, homestead laws, according to students of women's
                rights in America, were a prelude to the nineteenth
                century Married Women's Property Acts)48         Although
                homestead laws did not change married women's status as
                regards the legal ownership of property, they created
                certain rights which made women less vulnerable to the
                imprudent management of property by their husbands.
                From 1877 until 1951, New Jersey had comprehensive
                homestead laws which offered families three distinct


                l48Chused, "Married Women's Property           Law,"   71
                Georgetown L.J. 1359, 1361 (1983).




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       protections:   (1) a dollar value exemption from the
       execution sale of a home occupied by a debtor's family
       (N.J.R.S. 2:26-110); (2) a prohibition against the sale or
       encumbrance of a family home by an owner-spouse
       without the consent of the non-owner spouse (N.J.R.S.
       2:26-121); and (3) a provision allowing the "widow" and
       children of the deceased owner of a family home to
       occupy it until the youngest child reached the age of
       majority and the "widow" died (N.J.R.S. 2:26-111).


       In 1951, when Titles 2 and 3 were revised, the homestead
       statutes were eliminated with no explanation.l 49     The
       change is particularly puzzling, since the revisions of
       Titles 2 and 3 were supposed to affect procedural
       statutes, but work no changes in substantive law.     The
       revisions were manda ted by the Legislature in 1950

            to reconcile and make more consistent the
            provisions of the two Titles• . . with each
            other and with the Rules of Practice and
            Procedure promulgated by the State Supreme
            Court. [The revisors~ work included the
            correction of errors existing in these Ti tles
            and the elimination of provisions which were
            redundant or which, in the Committee's
            jUdgment were more includable in the Rules
            of Court. l 50


       149Senate Bill No. 1 of the 175th Legislature, which
       repealed Title 2 and enacted Title 2A had no legislative
       statement. In addition, the proceedings of the 1951 New
       Jersey JUdicial Conference, which reviewed the new Title
       2A, included no comment on the removal of the
       homestead provisions.
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       150The Trenton Letter, December, 1951, printed in an
       addendum to the laws of the 175th New Jersey
       Legislature, New Jersey Session Law Service, Vol. 1951
       (West).
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               An editorial in the New Jersey Law Journal at the time
               explained that the revisions were made because Titles 2
               and 3 contained many legislatively crea ted rules which
               govern court practice and procedure, and the 1947 New
               Jersey    Constitution   committed   the   entire   field   of
               practice and procedure to the jurisdiction of the State
               Supreme Court,151 One later editorial, however, did warn
               New Jersey lawyers that the revisions were in reality not
               just a procedural reorganization after all, and enumerated
               some of the substantive changes which had been made)52
               The editorial was, unfortunately, silent on the subject of
               homestead laws.


               Now, New Jersey is one of only seven jurisdictions which
               has not either constitutionally or statutorily created
               homestead provisions to secure marital assets from the
               reach of certain types of creditors)53     Homestead laws
               particularly benefit non-wage earner spouses who remain
               at home and maintain the family residence.          In most
               instances the non-wage earner spouse is a woman,
               therefore the absence of homestead laws impacts most
               heavily upon women and children within the family unit.


               Several developments in New Jersey law in the years
               since the disappearance of the homestead statutes

 I
 i
               151"The Completed Revision of Revised Statutes Titles 2
J              and 3," 74 N.J.L.J. 356.

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               152"Changes of Substance in New Jersey Statutes Titles
,!             2A and 3A," 75 N.J.L.J. 324.
               153The jurisdictions which have not enacted homestead
               protections are:     Delaware, District of Columbia,
               Maryland, Pennsylvania, Connecticut, Rhode Island, and
               New Jersey.




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        indicate that the Legislature, the courts, and the people
        of New Jersey recognize the need           for   homestead
        protections.


        The most recent of these developments was the
        enactment in 1979 and 1980 of two statutes which
        together recreate      the safeguards   that New Jersey
        residents had enjoyed under N.J.R.S. 2:26-120 of the
        repealed homestead law. N.J.S.A. 3B:28-3 and 3B:28-3.l
        (See Chapter 5 - Probate page 573 of this report) give
        spouses a right of possession in their matrimonial
        residence, whether or not they are the owners. SUbject to
        a few exceptions, owner spouses may not sell or mortgage
        their homes without spousal consent)54 Thus, one of the
        three protections which the repealed homestead law had
        provided has been restored by the Legislature.


        When the new probate code was passed in 1977 and 1979,
        New Jersey's old quarantine law was incorporated into it.
        The quarantine statute155 provides, on a temporary basis,
        the protection which N.J.R.S. 2:26-111 (the repealed
        probate homestead law) gave to the surviving spouses of
        homestead owners.      While N.J.R.S. 2:26-111 allowed
        widows and families to stay in the homestead until the
        children reached the age of majority and the widow died,
        the quarantine statute simply permits a widow or widower

        l54The legislative statement of Assembly Bill 20 of the
        1978 session (the bill which became 3A:35-5 in 1979 and
        then 3B:28-2 and 3B:28-3 in 1980) contained no comment
        on the section of the bill which reestablished the require-
        ment of spousal consent for the alienation or mortgage of
        'homesteads'.
        l55N.J.S.A. 3B:28-8.




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           to stay in "the mansion house" until dower or curtesy is
           assigned. The retention of this quarantine statute clearly
           shows that the Legislature did not wish to allow citizens
           to become homeless upon the death of their spouses. The
           expectation was that the surviving spouses would either
           be allowed to stay in the home, or receive enough money
           for      their   dower/curtesy     interest   to   provide   for
           themse1ves)56 (For a further discussion of this issue see
           Chapter 5 - Probate, page 573 of this report.)


           That the people of New Jersey (as well as the New Jersey
           Legislature) place great importance on the ability of
           citizens to keep their homes was proven in 1975. In that
           year, an amendment to the State Constitution was
           ratified157 which permitted the Legislature to allow
           homestead tax rebates related to the property taxes
           which New Jersey residents pay.           In 1976, the people
           reaffirmed their commitment to protect "homesteaders"
           by allowing the Legislature to give disabled persons and
           people over the age of 65 extra tax credits)58



           156The purpose of quarantine was not only to provide the
           widow with a dwelling place, but also to compel the heirs
           to make assignment of dower. McLau hUn v. McLau hlin
           22 N.J.Eq. 505, 509 (E&:A 1871 • The quarantine law has
           protected widowers since 1929. The need to expand New
           Jersey's quarantine law will be discussed infra.

           Also illustrative of the intention of New Jersey
           lawmakers that surviving spouses not become homeless, is
           the fact that New Jersey's dower and curtesy laws were
           replaced in 1977 and 1979 by the more extensive
           protections of an elective share statute.

           157ART. 8 §1 PAR. 5.

           1581d.




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       Finally, and most significantly, the New Jersey Supreme
       Court has recognized the need for families to be
       protected from the forfeiture of their homes due to the
       debts of an owner-spouse. In Newman v. Chase, 70 N.J.
       254 (1976),   a plaintiff creditor brought an action for
       partition of the Chase family home. Mr. and Mrs. Chase
       owned the house under New Jersey law as tenants by the
       entirety, and Mr. Chase's interest in the home had been
       sold to the plaintiff through bankruptcy proceedings.
       Since Mrs. Chase refused to allow plaintiff Newman to
       share the house with her, he was absolutely entitled under
       New Jersey case 1aw159 to the relief of a court-ordered
       division of the property into separate parcels, and the
       allocation of one or more parcels to each tenant.
       Consciously departing from precedent, the court held that
       partition was not the absolute right of a cotenant's
       creditor, where the property involved was a family                       ~
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       Justice Mountain decided that the important public
       interest in families keeping their homes and not becoming
       charges upon the State outweighed the social policy that a
       debtor's assets should be available to his creditors.
       The court explained:

            In effect, the special treatment of tenancies
             by the entirety in New Jersey serves the                               i
             purposes which are achieved in many states by
             statutory or constitutional homestead laws..•
             Just as the homestead exemptions effect a
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       l59Schulz v. Ziegler, 80 N.J. Eq. 199 (E&A 1912).                        .J

       l60Newman v. Chase, supra (note 97) at 264.                                  \
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                     balance between two competing social policies
                     - on the one hand, that a debtor's assets should
                     be available to his creditors; on the other, that
                     the family of a debtor should not become a
                     charge upon the state - so can an equitable
                     treatment of the rights of a purchaser of one
                     spouse's interest in a tenancy by the entirety
                     serve to achieve a similar balance. (footnotes
                     and citations omitted»)61

                The decision in Newman v. Chase thus demonstrates clear
                judicial approval   of   the     public policy underpinning
                homestead provisions.


                The legislative and jUdicial efforts since 1951 to shield
                families from forfeiture of their homes have fallen far
                short of the protections which families enjoyed under the
                homestead laws repealed in that year. Although statutes
                N.J.S.A. 3B:28-3 and 3B:28-3.1 protect non-owner spouses
                from the unilateral sale or mortgage of the homestead by
                owner spouses, the statutes do not protect the homestead
                from the judgment creditors of owner spouses.


                The protections of tenancy by the entirety in New Jersey
                as defined in Newman v. Chase are available only to non-
                debtor spouses who are listed as co-owners on the deed to
                the family home (or on a             document   of transfer).
                Homestead laws are therefore needed to protect non-
                owner spouses (as well as children) from forfeiture of the

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.J              161A surviving spouse who has been bequeathed property
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                other than the family home also has no express right to
                stay in the home until the inheritance is translated into
,{              resources which he or she can use to procure another
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                home.
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         home to the owner's creditors. Moreover, the protections
         which the court allowed the Chase family in Newman v. '
         Chase are not absolute.


         For example, the court still has the equitable discretion
         to order partition when it feels that debtors might be
         using their homes to sequester assets from creditors.l 62
         Since partition is decided on a case-by-case basis, neither
         debtor-homeowners nor their creditors can rely with
         certainty upon an allowance or denial of the remedy.l63

         In addition, tenancy by the entirety does not shield
         families from the forfeiture of their homes when the                   (



         husbands and wives are joint debtors.        Finally, even
         though the court in Newman v. Chase refused to order
         partition, they did allow the plaintiff an accounting for
         half of the rental value of the home, minus payments
         which Mrs. Chase made for taxes, insurance, repairs, and
         the mortgage.l 64 This burden of accounting does not
         comport with the public policy of keeping debtors'
         families in their homes and off of pUblic assistance since
         it may plunge families into economic instability and make
         it impossible for them to continue to meet the costs of
         staying in their homes.l 65

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         New Jersey should have laws which protect its citizens                       \


         from the forfeiture of their homes due to debt or the

         l62Newman v. Chase, supra note 97 at 266, citing Way v.
         Root, 174 Mich. 418, 140 N.W. 577, 579 (1913).
         l63Brecker, "Survey of Property Law," 30 Rutgers L.
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         Rev. 764, 771 (1977).                                                       J
         164Newman v. Chase, supra note 97 at 267-68.

         l65Brecker, supra note 21 at 771.
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               death of spouses.    As stated previously, the absence of
               protection against the forfeiture of homes impacts more
              'heavily upon women than men. The Legislature, the
               jUdiciary, and the people of New Jersey have attempted
               to provide such protection, but the result has been
               discrete statutes and judicial remedies which cover some
               people and situations while not covering others.


               Therefore, the Commission recommends the enactment of
               a homestead exemption to protect families from the
               forfeiture of their homes.       By extending economic
               protection to non-wage earner spouses, whose names may
               or may not appear on the document of title for the
               homestead property, present economic recognition will be
               given to non-wage earner spouses who maintain the family
               home. A homestead exemption will protect and preserve
               the independent integrity of a family plunged into
               economic disaster by unwise financial decisions, and at
               the same time relieve the burdens placed on the state to
               support these families.


               The availability of a homestead exemption will provide
               New Jersey debtors several alternatives to protect the
               family when the debtor also chooses to file for federal
               bankruptcy. The Bankruptcy Reform Act of 1978, section
               522(d) allows a debtor to choose either the exemptions
               provided in section 522(d)166 or those provided by state


              166The exemptions provided by §S22(d) are as follows:
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                   0) The debtor's aggregate interest, not to exceed
                   $7,SOO in value, in real property or personal
                   property that the debtor or a dependent of the
                   debtor uses as a residence, in a cooperative that
                   owns property that the debtor or a dependent of the
                   debtor uses as a residence, or in a burial plot for the
                   debtor or a dependent of the debtor.



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        and federallaws)67 Although the bankruptcy code grants
        the states the power to prevent debtors from choosing the
        federal exemptions,168 New Jersey has not chosen to opt
        out of the federal bankruptcy scheme. Consequently a
        New Jersey debtor can file for bankruptcy and claim
        either the state or the federal homestead exemption
        amount.


        Because the federal and the state homestead amounts are
        not significantly different ($7,500 and $10,000 respec-
        tively) in an individual case there will be no great
        advantage to choosing one exemption amount over the
        other. However, if a husband and wife choose to file for
        joint bankruptcy, the federal homestead exemption
        amount for state joint debtors is more attractive than the
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        state homestead exemption.
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        Under the federal scheme each joint debtor is entitled to
        a $7,500 homestead exemption)69 This allows a husband

        167Exemptions available under federal nonbankruptcy law
        include: foreign service retirement and disability pay-
        ments, 22 U.S.C S4060; social security payments, 42
        U.S.C. S407; wages of fishermen, seamen and apprentices,
        46 U.S.C. §60l; civil service retirement benefits, 5 U.S.C.
        §8346; Longshoremen's and Harbor Workers' Compensation
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        Act death and disability benefits, 33 U.S.C §916; Railroad
        Retirement Act annuities and pensions, 45 U.S.C. S23lm;
        veterans benefits, 38 U.S.C. S310l; special pensions paid
        to winners of the Congressional Medal of Honor, 38 U.S.C.
        §562; and injury or death compensation payments from
        war risk hazards, 42 U.S.C. S17l7.
       l68section 522(b)(1) provides that "an individual debtor
       may exempt from property of the estate ... property that
       is specified under subsection (d) unless the State law that
       is applicable. •. specifically does not so authorize."
       169 11 U.S.C. 522(m) (Supp.IV 1980) provides that "[tlhis
       section shall apply separate with respect to each debtor in
       a joint case."

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                     and wife to retain a total of $15,000 under the federal
                     scheme, while under the New Jersey scheme
                     recommended by the Commission joint claimants would be
                     limited to a single homestead exemption of $10,000 or
                     less on the same dwelling.


                     The Commission has chosen this limiting language to
                     proscribe   the doubling of the state homestead
                     exemption.l 70 There is no basis for creating a homestead
                     exemption which would operate differently for bankruptcy
                     purposes, so as to allow a double exemption for husbands
                     and wives who are joint debtors, but only allow a single
                     exemption    for   non-bankruptcy     purposes    involving
                     executions on money judgments.          Any increase or
                     decrease in the homestead exemption figure should come
                     from uniform legislative direction.


                     Unlike the federal exemption, the homestead exemption
                     which the Commission recommends        is tied to specific
                     real property owned and occupied as a principle residence.
                     That jointly filing spouses in bankruptcy may have
                     separate exemptions does not mean that the exemptions
    .                must be doubled.1 71    Real property occupied as a


                    l70The courts are split on the issue of whether or not joint
                    debtors can claim separate state homestead exemptions
                    on their bankruptcy forms and, as a result, double what
                    they would be entitled to claim under the state law alone.
                    Representative courts which have allowed a double
                    exemption are: Cheeseman v. Nachman, 656 F.2d 60 (4th
                    Cir. 1981); In re Rizzo, Bkrtcy.; 21 B.R. 913 (1982); In re
                    Ageton, Bkrtcy., 14 B.R. 833 (1981). Representative
                    courts which have prohibited the doubling of exemptions
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                    are; In re Brooks, 31 B.R. 302 (Bkrtcy. 1983); In re Feiss,
.~                  15 B.R. 825 (E.D.N.Y. 1981).

    I               l71In re Brooks,supra note 170.
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       principle residence or homestead should carry with it a
       single $10,000 exemption under the recommended state
       homestead exemption scheme. The Commission has used
       the same limiting language the California Law Revision
       Commission recommended as an amendment to the
       California homestead exemption statutes in order to
       eliminate the large double exemptions which were being
       claimed.l 72


       The fact that the bankruptcy code allows separate federal
       homestead exemptions to debtors in a joint case does not
       conflict with a state provision allowing only one
       homestead exemption for the full amount to joint debtors.
       Each joint debtor may claim the same          homestead
       exemption separately for the same real property, but the
       value of the exemption is not cumulative. "The same
       value may be used by either spouse as often as is
       necessary against his or her creditors, but when the real
       property is finally sold at a forced sale only one




       172 15 Cal. L. Rev. Comm. Reports 2001; 82 A.J. 9356.
       The California amount of homestead exemption C.C.C.P.
       §704.730(b) now states:
             (b) Notwithstanding any other provision of this
             section, the combined homestead exemptions of
             spouses on the same judgment shall not exceed
             forty-five thousand dollars ($45,000), regardless of
             whether the spouses are jointly obligated on the
             jUdgment and regardless of whether the homestead
             consists of community or separate property or both.
             Notwithstanding any other provision of this article,
             if both spouses are entitled to a homestead
             exemption, the exemption of proceeds of the
             homestead shall be apportioned between the spoUses
             on the basis of their proportionate interests in the
             homestead.




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         homestead exemption is available to the joint debtors
         from the proceeds of the sale. t1173


         The fact that joint debtors can claim $15,000 under the
         federal exemption, while they would be limited to $10,000
         under the state scheme should mitigate in favor of the
         New Jersey Legislature raising the homestead exemption
         amount to at least $15,000 or 50% of equity, whichever is
         less.


         A further note of explanation is necessary to clarify why
         the Commission has chosen to recommend a modest
         homestead exemption amount. The homestead exemption
         amounts in other states range from a low of $5,000 in
         Vermont and Virginia to a high of $45,000 for senior
         citizens in California.      This wide range of figures
         indicates that   the determination of an appropriate
         homestead exemption amount is a decision best left to the
         Legislature. The Commission believes that since it is the
         Legislature's duty to review and act upon pUblic policy
         considerations   (involved   in    setting   the   homestead
         exemption amount) it was best to recommend the modest
         homestead exemption amount of $10,000 or 50% of
         equity, whichever is less.    This amount is particularly
         modest in light of the fact that the Commission also
         recommends the inclusion of language which would limit
         the combined homestead exemption amount of two
         claimants on the same homestead property to the $10,000
         or 50% of equity figure, or whichever is lesser. It is the



         173 In re Brooks, supra note 5 at 307. See also, In re
         Bartlett, 24 B.R. 605 (Bkrtcy. App. 9th Cir. 1982). --




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        hope of the Commission that the Legislature will, after a
        careful analysis of the needs of families and creditors,
        achieve a balance which affords homeowners within the
        state an exemption greater than $10,000.00. A generous
        homestead exemption would more easily allow families to
        make a fresh start after financial difficulties.




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                                             STATUTE
                   N.J.S.A. 2A:17 et seq.
                   Executions


                                            SYNOPSIS
                   This chapter outlines the goods and chattel subject to
                   executions on judgments obtained in any court of record
                   in this state, and provides the procedures for these
                   executions.


                                     RECOMMENDATION
                   Supplement


                            BILL NUMBER AND SECTION CITATION
                   Sections 1-13 of Senate Bill 2105.


                                            DISCUSSION
                   Women    still constitute   the   majority   of   financially
                   dependent spouses, and often their names do not appear
                   on the deed to the family home. This allows a husband
                   independently to make economic decisions that may place
                   his wife and family in financial jeopardy. Consequently,
                   the absence of protections against forfeiture of homes
                   due to debts incurred by one spouse impacts more heavily
                   and in a discriminatory manner upon women. In order to
                   shield a debtor-spouse's family from the drastic penalty of
                   losing the family home and becoming charges of the
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                   State, Chapter 17 of Title 2A is supplemented to proviae
                   for a homestead exemption to protect the legal residence
                   of a debtor or debtor's family from attachment and levy
                   of execution by jUdgment creditors.
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       The Commission recommends that no formal declaration
       of homestead be required before the debtor may claim the
       homestead exemption and that waiver of the homestead
       exemption be prohibited. These provisions are to ensure
       that the maximum number of New Jersey residents may
       benefit from the homestead exemption, even those who
       are not aware of the homestead exemption until a
       judgment has been issued against them.


       The homestead exemption should not be absolute and
       should not extend to all debts incurred by the debtor. The
       homestead exemption should not extend to an execution
       order or other process issued to satisfy debts incurred for                i
       (1) the purchase    money mortgage on the homestead                           I



       property; (2) debts incurred for the improvement of the                   ~I
       homestead property; (3) a lawful claim for taxes or                           I
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       assessments; (4) child support or alimony; and (5) debts                  i
       incurred prior to the recording of the deed of the
       homestead property.
                                                                                 j
       If the homestead property can be set off so that the
       claimant can retain the dwelling and a portion of the land
       which does not exceed the homestead exemption amount,
       the Commission recommends that the court be required to
       order such a set off. This would ensure that a family
       remain in the family dwelling, if at all possible.


       When no set off is possible, the court must order the sale
       of the homestead property. So that the claimant's family
       may secure housing, the homestead exemption amount
       should be paid to the claimant before the remaining
       proceeds from the sale are distributed to the judgment
       creditors.   The homestead exemption amount should be



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                     exempt from execution for eighteen months, thus
                     affording the claimant ample opportunity to find another
                     dwelling.


                     In recognition of the economic value a non-wage earner
                     spouse contributes to the family home, the Commission
                     recommends the creation of a presumption "that each
                     spouse made an equal contribution to the fair market
                     value of the homestead property while the spouses were
                     married" (see section 4 of Senate Bill 2105).




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                                        SENATE, No. 2111

             STATE OF NEW JERSl:.Y                                                                                                                  t




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            11    forcpahle. and shall not cOllstitute u dC'fcnse in an;: action, "uit or
           12     proceeding, Xo :,nC'!l promise. co\'enant or rpstriC'tinn s!Jul l 1;('                                    ]i~ird                      1
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           15 or restriction in any such instrument or agrepll1ent shall ,1"t a fF('ct                                                              J
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                  the \'alidity of any other provision therein, but no rewl'1rr
                  occur, lIO    possessor~-      estate shall result, nor               an~'        rip-ht or pdlY
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           19     regard of such promise. covenant or restrictiOll, This seclion "ha1l                                                                  I
           20     lIOt apply to conveyances or devises to reJ!gious nssocia,io!ts or
           21     corporations for religious purposes, but, such promise, covel:ant or                                                              ,
           22     restriction shall cease to be enforceable and shall otherwise beco!ll('                                                               i
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                                                                    .,
                          23    subject to the provisions of this section when the real property
                          24    affected shall cease to be used for such purpose.
                           1      2. R. S. 46 :7-1 is amended to read as follows:
                           2      46 :7-1. vVhenever a corporation or association, created under
                           :3 any law of this         ~tate,   shall have made, durillg its c01'porate
                           4    existence, a deed or conveyance of real estate in this Slate, 01' of an
                           5 interest thereiu, and thereafter shall have ceased to exist by reason
                           6 of dissolution, death of its members or otherwise, and it shall be
                           7    discovered that an error exists in ~uch deed or cOllveyauce, any
                           tI   survivillg presideut, vice-president, director or trustee of liuch
                           9    defuuct corporatiou or association may, by deed of confinuatiof!,
                          10 containing a proper reci tal, corrcct the error in the original det'd 01'
                          11    conveyance. If no one of the surviving- officers he1'einbefore Hamed
                          12    be living, the oldest adult [son] child, or, if there be nOll I' livillg", tIll'
                          13    oldest adult [grandson]grllndchild of any such presidellt, vice-
                          14 president, last surviving director or trustee may luake such deed 1)1'
                          15    confirmatiOlI. Prior to the making of any such deed of confirmatiou,
                          16    the person claimiug to be entitled to the heJJefit of this section shall
                          17    institute an action ill the County COU1't of the conuty ill which the
                          18    affected 1'eal estate is situate, or the Supe1'ior Court, against auy
                          19 person within or without the State hereby authorized to make thl'
                          20    deed of confirmation. 'flie court may proceed therein in a sunuuary
                          21 manner or otherwise and, after consideriug the lIatnre of the error
                          22    or defect iu the origiual deed or conveyauce, al!d the relief soughl,
                          23 may, if convinced of the merit of the action, direct the proper per-
                          24    son to execute and acknowledge the cOllfirmatory deed.
                          25      If the person so directed to execute the confirmatory deed shall
                          26 fail to comply with the judgment of the court within twent.y days
                          27 after the service of a certified copy thereof [upon him]; the court
                          28 making the judgment may, upon proof thereof, appoiut a                       COlll-

                          29    missioner to execute the confirmatory deed.
                          30      The costs of the action shall be chargeable to the plaintiJi.
                          31      A confirmatory deed executed and acknowledged or proved in
                          32 accordance with the terms of this section shall be as valid and
                          33    effective as if duly made, executed and aclmowledged or proved
                          34    under the corporate seal of such corporation or association during
                          35    the period of its corporate existence.
                           1      3. R. S. 46:7-2 is amended to read as follows:
                           2      46 :7-2. Where any conveyance of real estate has been, prior to
                          3     April sixth, one thousand nine hundred and fifteen, made, executed
                          4     and recorded, in which conveyance it shall appear that the persons
                          5     therein named as grantees have taken the title to such real estate
                           6 in behalf of or in the interest of any unincorporated religious asso-
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                    ::3   han that the real estate so granted alld conveyed shall be held il:
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                 10       tim:, Rociety, meeting, congregation or organizatiol. ,hul! I1U\-'
                11        thereufter' becollle illcorjJoratl·d as a religious ~oeiet:' under llll' Iu ""'
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                t4        propel' reci:ul, tOl1\'ey tlie real estate llle"tioued ill t:;., origiual cou-
                15        Yeyullcl'          ~o    the   reli~dous a~~ociatiuil, society, llH,prillg', t't..Hlg'l'(·'rtu.t.ioll

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                18        ~Ucll ;-;Hl        \-iv1lib        i;ludlt..-:e,   till'   oIJt..-:~it         udult [~t)ll] child, 01' adult
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                          .::iul'viviJlg" gnll it ('e !llHy              filake the dppd                OJ' eOIl \'P~,';:ll){,(~       Ill' rpi il   pl'o\'idel             I
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                          child or tile            Ill~t    oun'j\,illg gral,t"", .1JUilIH' as yaiid                                   H;;ci    I'JY,,('(llal ill
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                  "       ~hall     lJass         alld cOllvey t11t~         t'state or' the                   a~::3ig']J(Jr      in    iia' BLort.~.!:ag·~'d                          J
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                11           [.A.. U     t;'tiSigJlUH:~(}t;3 Blade tUltle]'                  tlli:--:    ~('et]()ll       fly    H T)WI'j       ied     ,,"oillil'l                    J
                12 ill hpr 0\\1l l'ip;ltt and without hel'lllls],alld ,hall Le yaliu.]
                 1     ;>. \New :;ection) A tellUllC:' t., elltireties shall b,_> cl eak<! wl,e,;:
                  :2         a, A husband '.llld wife tog-etlwr tal,e title to an                                                      int(~re"l        ill      )"I'al                J
                  ..
                  ~
                          property           01'   personal property ullder a written instrument df',ip:p;l1.
                          ing both of their names as husband and wifp : (;1'
                  5          b, A husband alld wife become the lesees of real pr"!wrl., ,,,-
                  6 personal property under a written instrument. eOlltainiu,!!; all OptiOl'
                    to purchase designating' both of thei r llames as husband aml "'ire: IJl"




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        Case 21-10514-SLM            Doc 45-2 Filed 04/06/21 Entered 04/06/21 16:03:15
                                           Exhibit B Page 60 of 60
                                                                                                                 Desc




                                                         4

                 8     c. An owner spouse conveys or transfers an illterest in real
                 9   property or personal property to the non-owner spouse alld til('
                10   owner spouse jointly under written illstrument rlesig-natillg' both
                11   of their names as husbaud and wife.
                1      6. (New sectiou) No instrument creating an~' illtere:5t in a husband
                 2   and wife shall be coustrueu to create a tellaucy in commol' or a joint
                 3   tenaucy unless it is expressed thereiu or manifestly appear, fronl
                4    the teuor of the instrument that it was iHteudeu to            cJ'(~atc   a tenancy
                5 in commou or joint teuaucy.
                1      7. (J"ew section) Neither spouse llIay      sen~r,   alipJiat<;, or otherllisp
                2    affect their iuterest in the tenancy by eutirety uuril!i-; the EIai'I'iag-<;
                3    or upou separation without the written COllsellt of ho(h             sponsp~.

                1      8. (New section) Upou the death of either            ~pouse,      t!1l' sun·jvillg"
                2    spouse shall be ueemed to have owueu tilP "')lOle 01" all rights u'llll'l"
                ,I   the origiual instrumelll of   purcha~e, co,,"'~yance,         OJ'   ! ra",fl>r;'n>l,l
                4 its iuception.
                1      9. R. S. 46 :14-1 is repealed.
                1      10. This acet shall take effect iunnediatd" awl ..;halj II(' <lpplir'I1Llc
                2    to all tenancy by entireties which are createrl         011   or aftcr       .Jaiilta\"\"

                3    1,1985.


                                                  STATEMENT
                       'I'his bill amends and repeals certain sex ha;wd »rO\'i,jfllj"; i ,I
                     Title 46 concerning conveyances of real property.
                       This bill also revises New Jersey case law detillin;.\' :h,' "Oll<UITp;:j
                     ownership of provert)' heh\'eell husband awl wifl'..\t COllllnon law.
                     the hushand enjoyed exclusive control al!d power                    0""1'    "lltirdy
                     property. By virtue of     ~ew     Jersey's Married W'l!lll'n\              l'ropl'rt~·

                     Act, married women's      ri~hts   in entirety property ",·n·               in('rl'a~p"

                     to equal those rights pl'eviously exercised by til(> liUsi>udCl alollc.
                     Presently, husballd and wife hold HlUrital          pro~H'rt)       a~   h'na!lts ill
                     common during their .joilit lives with tile ri!;1Jt "f               sl\l""i"()]"~hjl'

                     (each one O,,"llS tlte whole) retained   a~   at COllllilOli lUl''-. .\,; ;,·na.,,",
                     in common each spouse has a separate rigllt to ellcul"bor tit" prnp-
                     erty without the consellt of the other sponse.
                       This bill is proposed based on the recolllmenuutioll of t!l('                  COlli·

                     missioll on Sex Discrimillation in the Statutes. It codiflr!s                h·naac~'

                     by entirety such that during- the marriage neither spow,c ma'-
                     sever, alienate, or otherwise affect their interest in e':ltirety prop-
                     erty during the marriag-e or upon separation without the mutual
                     writtell consent of the spouses. This reflects the commission's
                     policy that marriag-e is an economic partnership.




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